                                                                                    Entered on Docket
                                                                                    April 09, 2021
                                                                                    EDWARD J. EMMONS, CLERK
                                                                                    U.S. BANKRUPTCY COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA



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                                                                                 The following constitutes the order of the Court.
                                   2                                             Signed: April 9, 2021

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                                   5                                                ______________________________________________
                                                                                    Stephen L. Johnson
                                   6                                                U.S. Bankruptcy Judge

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NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES BANKRUPTCY COURT




                                   9                      UNITED STATES BANKRUPTCY COURT
                                  10                      NORTHERN DISTRICT OF CALIFORNIA
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                                        In re EVANDER FRANK KANE,                        Case No. 21-50028 SLJ
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                                                                                         Chapter 7
                                  13                                  Debtor.
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                                  15                ORDER DENYING APPLICATION TO SHORTEN TIME
                                  16          On April 8, 2021, Creditor Centennial Bank filed a motion to shorten time on the
                                  17   hearing on its motion to dismiss this case. ECF 92; see ECF 83. Creditor states shortened
                                  18   time is necessary because its motion to dismiss requests essentially the opposite relief of a
                                  19   currently pending motion to convert the case to Chapter 11 and appoint a trustee, see ECF
                                  20   33. Creditor also says considering the facts and law presented in its motion will assist me in
                                  21   deciding how this case should proceed. Debtor objects to shortened time, stating he does
                                  22   not believe this motion and the motion to convert are connected.
                                  23          I decline to shorten time on Creditor’s motion to dismiss. Creditor’s motion to
                                  24   dismiss would have serious ramifications for Debtor. Shortening time on such a motion puts
                                  25   Debtor, the subject of another case dispositive motion, at great disadvantage. It is better for
                                  26   Debtor to have the benefit of the full notice period to formulate his response. In addition, it
                                  27   is common in bankruptcy cases for parties to seek inconsistent relief, as seems to be the case
                                  28   ORDER DENYING APPLICATION TO SHORTEN TIME
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                                   1   here. But if the case were converted to chapter 11, a party other than Debtor could move to
                                   2   dismiss it, meaning not all the relief is inconsistent.
                                   3          Accordingly, it is hereby ordered that Creditor’s motion is denied. Creditor should
                                   4   notice its motion to dismiss in compliance with the Bankruptcy Rules and Local Rules.
                                   5          IT IS SO ORDERED.
                                   6                                          END OF ORDER
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NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES BANKRUPTCY COURT




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                                  28   ORDER DENYING APPLICATION TO SHORTEN TIME
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                                   1                                COURT SERVICE LIST
                                   2        [ECF recipients only]
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NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES BANKRUPTCY COURT




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                                  28   ORDER DENYING APPLICATION TO SHORTEN TIME
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